Case: 2:18-cr-00240-EAS Doc #: 1 Filed: 11/14/18 Page: 1 of 8 PAGE|D #: 1

“‘ "s, ni:?"-,F c z_
"“_."T"§ 0§~' £` .
UNITED STATES DIS'I'RICT COURT h
soUTHERN DISTRICT oF onto hit ttDk‘ l h he lU= 52
EASTERNDIVISION s '._ {._,_.,`.__ . , 1
r_.~_,‘-.:.W_Lii.r.",_+l: _.-:u;_`_j;~\ 1
ia:_ij § i€l:)_rii il a 1. {,-HC
‘ss¥ llle nfl i_.‘?»i§iUS
UNITED STATES OF AMERICA :
v. ; cRIMINAg~IQ.']_ 8 cr 2 4 0
GS CALTEX CORPORATION, : (Sherman Act Conspiracy,
: 15 U.S.C. § 1)
])efendant. : judge Sargu$
E_EQ_R_MAM
(15U.s.C. § 1)

The United States of America, acting through its attorneys, charges that during the period

covered by this Information:
DEFENDANT AND CO-CONSPIRATORS

1. GS Caltex Corporation (“defendant”) was a petroleum and refinery company
organized and existing under the laws of Korea, with its principal place of business in Seoul,
Korea.

2. Beginning at least as early as March 2005, defendant supplied essential heating
and other tilels to United States Army, Navy, Marine, and Air Force installations in South Korea
(collectively “United States Forces Korea” or “USFK”), pursuant to competitiver bid Posts,
Camps and Stations (“PC&S”) contracts awarded by the Defense Logistics Agency (“DLA”), an
agency of the United States Department of Defense.

3. DLA, formerly known as the Defense Energy Support Center, Was an agency
Within the United States Departznent of Defense headquartered in Fort Belvoir, Virginia. One of

its missions was to ensure that U.S. military installations around the Worlcl had their daily

 

Case: 2:18-cr-00240-EAS Doc #: 1 Filed: 11/14/18 Page: 2 of 8 PAGE|D #: 2

necessities To achieve this mission, DLA contracted with various contractors and
subcontractors to supply those necessities, including fuel, food, and other goods.

4. The Army and Air Force Exchange Service (“AAFES”) was an agency within the
United States Department of Defense headquartered in Dallas, Texas. lt sought to improve the
lives of soldiers and airmen by providing quality goods and services to soldiers and airmen at
military and air bases throughout the world, including by providing reasonably priced gasoline at
on-base service stations One hundred percent of AAFES’ earnings supported the military
community, including by iilnding Army Child Development Centers, Yotrth Services and fitness
centers, delivery of Wariighters’ uniforms, and affordable school lunches for service members’
children overseas.

5. 'I`he Defense Finance and Accounting Service (“DFAS”) was the financial and
accounting organization for the United States Department of Defense located in Columbus, Ohio.
One service DFAS provided was making payment to contractors on certain Department of
Det`ense contracts, including payments made from Columbus, Ohio, to South Korea, via
Electronic Funds Transfer, for contracts issued by DLA and AAFES.

6. DLA awarded PC&S lilel supply contracts in Korea via a iilll and open
competitive procurement process. Generally, a single PC&S solicitation would list numerous
USFK installations and their estimated supply needs for gasoline, diesel, and kerosene. Each
installation was then assigned a separate line item number. DLA made awards for each line item
based on the lowest bid price and the contractors’ past performance AAFES administered a
similar procurement process and solicited competitive bids for contracts to supply fuel to on-base
service stations in Korea. Upon shipment or delivery of iilel under the PC&S contracts, the

contractor would submit an invoice which represented to the United States Department of

 

Case: 2:18-cr-00240-EAS Doc #: 1 Filed: 11/14/18 Page: 3 of 8 PAGE|D #: 3

Defense that the fuel met the requirements of the contract Upon receipt of the invoice, DFAS
would wire payment to the contractor from its location in Columbus, Ohio, via Electronic Funds
Transfer.

7. Whenever this lnformat:ion refers to any act, deed or transaction of any company,
it means that the company engaged in the act, deed, or transaction by or through its oftlcers,
directors, agents, employees, or other representatives while they were actively engaged in the
management, direction, control or transaction of its business affairs

8. Other corporations and individuals not made defendants in this Information

participated as coconspirators in the offenses charged herein and performed acts and made

statements in furtherance of the conspiracy

DESCRJ_PTION OF THE OFFENSE

9. Beginning at least in or around March 2005, and continuing until at least
approximately October 2016, in the Southern District of Ohio and elsewhere, defenth and
others entered into and engaged in a combination and conspiracy to suppress and eliminate
competition for certain USFK fuel supply contracts, including certain PC&S contracts The
combination and conspiracy engaged in by defendant and its co-conspirators was in unreasonable
restraint of interstate and foreign trade and commerce in violation of the Sherman Antitrust Act,
15 U.S.C. § l.

10. The charged combination and conspiracy consisted of a continuing agreement,
understanding, and concert of action among defendant and its co-conspirators, the substantial
terms of which were to suppress and eliminate competition by agreeing to allocate the supply
volume of, fix prices of, and submit artificially determined non-competitive, inflated bids and to

ren'ain from bidding for certain USFK fuel supply contracts, including certain PC&.S contracts

 

Case: 2:18-cr-00240-EAS Doc #: 1 Filed: 11/14/18 Page: 4 of 8 PAGE|D #: 4

The objective of the conspiracy was to be awarded certain USFK fuel supply contracts and

receive payments from agencies of the United States Department of Defense at non-competitive,

inflated prices for the duration of the contracts

MEANS AND METHODS OF THE CONSPIRACY
ll. For purposes of forming and carrying out the charged combination and
conspiracy, defendant and/or its co-conspirators did those things which they combined and
conspired to do, in the United States and elsewhere, including, among other things:

a. discussing, agreeing, and designating which co-conspirator would be the winning
bidder for certain line items in PC&S Solicitations SP0600-05-R-0063, SP0600-
05-R-0063-0001, SP0600-08-R-0233, and SP0600-12-R-0232 in advance of the
submission of bids to DLA in the United States;

b. discussing, exchanging, and agreeing on the price or price levels that co-
conspirators would bid for certain line items in PC&S Solicitations SP0600-05-R-
0063, SP0600-05-R-0063-0001, SPOGOO-OS-R-0233, and SP0600-12-R-0232 in
advance of the submission of bids to DLA in the United States;

c. submitting, or causing to be submitted to DLA in the United States “bogus,”
intentionally losing bids for certain PC&,S line items, or refraining to bid on
certain line items, with the understanding that they would be allocated other
business ;

d. submitting invoices to agencies of the United States Department of Defense in the
United States for fuel supply services provided to the U.S. military at artificially

determined, non-competitive, inflated prices;

 

Case: 2:18-cr-00240-EAS Doc #: 1 Filed: 11/14/18 Page: 5 ot 8 PAGE|D #: 5

e. receiving payments from agencies of the United States Department of Defense in
the United States for fuel supply services provided to the U.S. military at
artificially determined, non~competitive, inflated prices ;

f. discussing, agreeing, and designating which co~conspirator would be the winning
bidder for certain AAFES contracts;

g. causing agencies of the United States Department of Defense located in the
United States to pay artificially determined, non-competitive, inflated rates to
defendant and its co-conspirators for the duration of the fuel contracts, thereby
increasing the proitability of those contracts for the winning co-conspirator; and

h. in or around 2014 an employee of defendant learned that a witness had reported
information regarding the conduct charged in this lnformation, a federal offense,
to a law enforcement officer of the United States. Defendant’s employee then
attempted to conceal the charged conduct and threatened, used intimidation, and
corruptly persuaded the witness to cause and induce the witness to withhold
testimony h'om an official proceeding, doing so knowingly and with the intent to
hinder, delay, and prevent the communication to a law enforcement officer of the
United States of information relating to the charged conduct These actions
caused the witness to stop providing information to a United States law
enforcement officer concerning the charged conduct

TRADE AND COMMERCE
12. During the time period covered by this lnformation, defendant and its co-
conspirators sold to DLA in the United States fuel and fuel supply services for use at U.S.
military bases. The charged combination and conspiracy involved U.S. import trade or

commerce in fuel and fuel supply services Pursuant to PC&S contracts, defendant delivered
5

 

Case: 2:18-cr-00240-EAS Doc #: 1 Filed: 11/14/18 Page: 6 ot 8 PAGE|D #: 6

fuel to USFK installations The charged combination and conspiracy had a direct, substantial,
and reasonably foreseeable effect on U.S. interstate and import trade and commerce in itel and
fuel supply services and on U.S. interstate commerce and that effect, in part, gives rise to this
charge.

13. During the time period covered by this lnformation, the charged combination and
conspiracy had a substantial and intended effect in the United States For example, the charged
combination and conspiracy caused a United States Department of Defense agency located
within the Southern District of Ohio to transfer U.S. dollars to the Korean bank account of
defendant The charged combination and conspiracy also caused United States Department of
Defense agencies to pay non-competitive prices for fuel and fuel supply services for use at U.S.
military bases

14. During the time period covered by this lnformation, the business activities of
defendant and its co-conspirators in connection with USFK fuel supply contracts were within the

flow of, and substantially affected, commerce among the states and with foreign nations

ALL IN VIOLATION OF TITLE 15, UN[TED STATES CODE, SECTION l.

 

Case: 2:18-cr-00240-EAS Doc #: 1 Filed: 11/14/18 Page: 7 of 8 PAGE|D #: 7

Dated: N:QL[. !L/ ,2018

MAKAN DELRAPHI\/l
Assistant Attorney General

l
§§ §REW C. F]NCH

Z”./,//.EM

RICHARD A. `POWERS
Deputy Assistant Attorney General

argan

MARVIN N. PRICE, JR.
Director of Criminal En.t`orcement

Antitrust Division
United States Departrnent of Justice

 

 

 

R'§“AN n TANSE

KATHERINE H. S LA
CAROLYN SWEENEY

KEN SAKURABAYASHI

Trial Attorneys, Antitrust Division
U.S. Department of Justice

450 5th street, NW
Washington, DC 20530
(202) 532-4156
ryan.tansey@usdoj.gov

 

Case: 2:18-cr-00240-EAS Doc #: 1 Filed: 11/14/18 Page: 8 of 8 PAGE|D #: 8

Dace_d: // ' 3 ,2018

w h - s`- . l l n -- u-
BENJ IN C. GLASS

United States Attorney

Southern District of Ohio

H¢Z§%/@

HRENDA SHOEMAKER
Deputy Criminal Chief
United States Attorney’s Ofiice
Southem District of Ohio

 

